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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON



    JOHN P. STIRLING,                             Case No. 3:20-cv-00712-SB

                        Petitioner,
                                                  RESPONDENT’S SUPPLEMENTAL
    v.                                            STATUS REPORT

    DEWAYNE HENDRIX, Warden,
    FCI Sheridan,

                        Respondent.


         Respondent DeWayne Hendrix, through counsel Alison Milne and Amy Potter,

submits this supplemental status report for the benefit of the Court and the public. 1




1The statistics and other information concerning FCI Sheridan are based upon information
provided by BOP counsel and what is available on the website.

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  1. Inmate Infections. As of February 22, 2022, there were 13 active COVID-19 case(s)

     among inmates at FCI Sheridan. To date, COVID-19 has not caused any inmate at

     FCI Sheridan to require placement on a ventilator and there are currently no FCI

     Sheridan inmates hospitalized due to Covid-19. From time to time, however, FCI

     Sheridan has transferred particularly sick inmates to a local community hospital but

     never more than two at any one time.

  2. Staff Infections. Among FCI Sheridan staff, there are currently 6 active cases.

     Screening procedures remain in effect.

  3. Testing. Inmates are tested upon arrival/departure from the facility. They are also

     tested in they are symptomatic, if exposed to Covid, if un-vaccinated and placed on

     quarantine for release, and for general surveillance testing

  4. Inmate Population. As of February 22, 2022, FCI Sheridan housed 1,523 inmates at

     its three facilities—1009 at the FCI; 229 at the FDC; and 285 at the Camp.

  5. Quarantine Conditions. The suspension of social visits that began on January 6,

     2022, due to the risks posed by Omicron remains ongoing, but legal visits are now

     permitted. The majority of housing units are back to fully modified operations meaning

     that programming, jobs and commissary privileges are available to inmates. Only those

     in isolation or quarantine status are restricted from participating at this time. Two

     inmates are in isolation in the gym while the other 11




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      Covid positive inmates are in isolation elsewhere.

DATED this 23rd day of February 2022.

                                          Respectfully submitted,

                                          SCOTT ERIK ASPHAUG
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                                          District of Oregon

                                          /s/ Alison M. Milne
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                                          /s/ Amy Potter
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